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                          UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                    (CHARLESTON)

IN RE:                                       :
                                             :         Case No. 17-04252-dd
Moss Construction of the Low Country,        :
LLC,                                         :         Chapter 7
                                             :
                               Debtor.       :
                                             :
                                             :
Prairie Son Properties, LLC,                 :
                                             :         Adv. Pro. No. 17-80079-dd
                               Plaintiff,    :
                                             :
Michelle L. Vieira, as Chapter 7 Trustee for :
Moss Construction of the Low Country,        :
LLC; Buck Lumber and Building Supply, :
Inc.; Creighton Likes, Jr.; Richard Zollweg :
and Sandra Zollweg,                          :
                                             :
                               Defendants. :
                                             :
ANSWER, AFFIRMATIVE DEFENSE, COUNTERCLAIM AND MOTION TO DISMISS
OF MICHELLE L. VIEIRA, AS CHAPTER 7 TRUSTEE FOR MOSS CONSTRUCTION
                     OF THE LOWCOUNTRY, LLC

          Defendant, Michelle L. Vieira, as Chapter 7 Trustee (“Trustee”) for Moss Construction of

the Lowcountry, LLC (“Moss”), responding to the Complaint of the Plaintiff, Prairie Son

Properties, LLC (“PSP”), would show as follows:

          1.     Every allegation of the Complaint not expressly admitted is hereby denied.

          2.     The allegations of paragraphs 1, 4, 5 and 6 are hereby admitted on information and
belief.
          3.     The allegations of paragraphs 2 and 3 are hereby admitted.
          4.     The allegations of paragraphs 7, 8, 9, 10, 11, 12, 13, and 14 are admitted.
          5.     The allegations of paragraph 15 are denied and Trustee would ask that the language

of the Mortgage be strictly construed.
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          6.    The allegations of paragraph 16 are denied.
          7.    The allegations of paragraphs 17, 18 and 19 are admitted.
          8.    As to paragraph 20, Trustee reiterates the admissions and denials above.
          9.    Trustee is unable to ascertain what PSP is informed and believes but would deny

all of the allegations of paragraphs 21 and 22 which assert any factual statement or claim any basis

for relief.

          10.   As to paragraph 23, Trustee reiterates the admissions and denials above.

          11.   Trustee is unable to ascertain what PSP is informed and believes but would deny

all of the allegations of paragraphs 24 and 25 which assert any factual statement or claim any basis

for relief.

          12.   As to paragraph 26, Trustee reiterates the admissions and denials above.

          13.   The allegations of paragraph 27 are denied.
          14.   Trustee is unable to ascertain what PSP is informed and believes but would deny

all of the allegations of paragraph 28 which assert any factual statement or claim any basis for

relief.

          15.   As to paragraph 29, Trustee reiterates the admissions and denials above.

          16.   The allegations of paragraph 30 are admitted.
          17.   Trustee admits that the Property is rented but denies the remainder of paragraph 31.
          18.   The allegations of paragraphs 32 and 33 are denied.
                               AS AN AFFIRMATIVE DEFENSE
          19.   Trustee reasserts all admissions and denials above as fully as if reiterated verbatim

herein.

          20.   To the extent that PSP is successful in avoiding any lien or transfer, such lien or

transfer must be preserved for the benefit of the estate pursuant to 11 U.S.C. §551.
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                                       MOTION TO DISMISS
          21.   Trustee reasserts all admissions and denials above as fully as if reiterated verbatim

herein.

          22.   The Complaint herein asserts no cause of action and seeks no relief as to the Trustee

and should be dismissed pursuant to Fed.R.Bankr.P. 7012, incorporating Fed.R. Civ.Proc.

12(b)(6).

  COUNTERCLAIM FOR VIOLATION OF THE STAY IMPOSED BY 11 U.S.C. §362
          23.   Trustee reasserts all admissions and denials above as fully as if reiterated verbatim

herein.

          24.   Trustee is the Chapter 7 Trustee for the Debtor, Moss, which filed bankruptcy on

August 28, 2017.

          25.   PSP is a limited liability company, organized under the laws of Georgia, doing

business in South Carolina.

          26.   This is an adversary proceeding pursuant to Fed.R.Bank.P. 7001 and jurisdiction in

this court is appropriate pursuant to 28 U.S.C. §1334 and Local Civ. Rule 83.IX.01 (D.S.C.).

          27.   This is a core proceeding under 28 U.S.C. §157(b)(2)(C) and (O).

          28.   This Court has authority to enter a final order.

          29.   PSP asserts a claim secured by real estate owned by Moss (the “Bluffton Property”).

          30.   The Bluffton Property is currently being rented.

          31.   In mid August, PSP demanded of Joshua Zollweg, Kevin Campbell and Moss that

the lease be transferred to it and that the rental proceeds from the Bluffton Property be paid to it.

          32.   Upon learning that Moss had filed Chapter 7, PSP again demanded that Moss pay

the rental proceeds to it rather than the Trustee.
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          33.   The Trustee advised that she was entitled to receive the rental proceeds and

suggested that PSP file a Motion pursuant to §362 but PSP continued to demand that it receive the

rent.

          34.   PSP has now filed this Adversary Proceeding, demanding that it receive the rental

proceeds, still without filing a Motion pursuant to §362.

          35.   As a result, the tenant has not yet paid the rental proceeds to anyone and the Trustee

has not yet received the rent from the Bluffton Property.

          36.   The Trustee has incurred damages as a result of this willful and intentional violation

of the automatic stay.

                                  RESERVATION OF RIGHTS

          37.   Trustee reasserts all admissions and denials above as fully as if reiterated verbatim

herein.

          38.   Trustee is engaged in other adversary proceedings with some of the named

defendants herein and does not restate or duplicate those claims here. In so doing, Trustee does

not abandon or waive but expressly reserves the causes of action and claims asserted in other

litigation.

          Wherefore, having answered the Complaint filed by PSP, Trustee asks that the relief

requested in the Complaint be denied, that the Complaint be dismissed for failure to state a cause

of action against the Trustee, that her affirmative defenses be recognized and protected, that she

be awarded damages for the knowing and willful violation of the stay imposed by 11 U.S.C. §362,

that her other claims be preserved, and for such other and further relief as the Court deems

appropriate.
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                                         Respectfully submitted,


                                         By: /s/ Barbara George Barton
                                         Barbara George Barton, #1221
                                         Christine E. Brimm, #6313
                                         P.O. Box 2746
                                         Murrells Inlet, SC 29576
Dated: September 28, 2017                Telephone: (803) 256-6582
                                         Fax: (803) 779-0267
                                         Attorneys for Trustee
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                         UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                   (CHARLESTON)

IN RE:                                       :
                                             :         Case No. 17-04252-dd
Moss Construction of the Low Country,        :
LLC,                                         :         Chapter 7
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                               Debtor.       :
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Prairie Son Properties, LLC,                 :
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                               Plaintiff,    :
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Michelle L. Vieira, as Chapter 7 Trustee for :
Moss Construction of the Low Country,        :
LLC; Buck Lumber and Building Supply, :
Inc.; Creighton Likes, Jr.; Richard Zollweg :
and Sandra Zollweg,                          :
                                             :
                               Defendants. :
                                             :
                                  CERTIFICATE OF SERVICE
         I, Connie Fraser, hereby certify that on behalf of the Chapter 7 Trustee, I served a copy of
the ANSWER, AFFIRMATIVE DEFENSE, COUNTERCLAIM AND MOTION TO
DISMISS OF MICHELLE L. VIEIRA, AS CHAPTER 7 TRUSTEE FOR MOSS
CONSTRUCTION OF THE LOW COUNTY, LLC, filed September 28, 2017, on the Office
of the United States Trustee via electronic filing and electronic transmission through CM/ECF,
pursuant to SC LBR 9036-1, and on the parties in interest as shown below, via CM/ECF and/or
U.S. Mail, as indicated, on September 28, 2017.

Moss Construction of the Low Country, LLC
732 Milldenhall Road
Mount Pleasant, SC 29464
Via Regular Mail
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Via CM/ECF

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Via CM/ECF

                                                     BARTON BRIMM, PA

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